 

Case 3:15-cv-01183-.]AH-BGS Do_cumentl Filed 03/23/15 Page|D.l PagelofB

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 

CHRISTOPHER SUTTON,

Plaintiff,
v. Civii Action NO.

PORTFOLIO RECOVERY ASSOCIATES, LLC

Defendant.

 

COMPLAINT AND DEMAND FOR JURY TRIAL
I. INTR()DUCTION

l. This is an action for actual and statutory damages brought in response to Defendant’s
violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter
"FDCPA") Which prohibits debt collectors from engaging in abusive, deceptive, and
unfair practices

II. JURISDICTION AND VENUE

2. Jurisdiction of this court arises under 15 U.S.C. §1692k(d), 28 U.S.C. § 1331 and 28
U.S.C. § 1337.

3. That Plaintiffs’ cause of action under the TCPA is predicated upon the same facts and
circumstances that give rise to their federal cause of action. As such, this Court has
supplemental jurisdiction over Plaintiffs’ TCPA causes of action pursuant 28 U.S.C.
§1367.

4. Venue is proper in this district under 28 U.S.C. §1391(b) in that the Defendant transacts
business here and the conduct complained of occurred here.

III. PARTIES

5. Plaintiffs, Christopher Sutton is natural persons residing in the County of Erie and State
of New York and is a “consumer” as that term is defined by 15 U.S.C. §l692a(3).

6. Defendant, Portfolio Recovery Associates, LLC is a foreign business corporation
organized and existing under the laws of the State of Virginia and is a “debt collector” as
that term is defined by 15 U.S.C. §l692a(6).

 

 

 

10.

ll.

12.

13.

14.

15.

16.

17.

18.

19.

Case 3:15-cv-01183-.]AH-BGS Documentl Filed 03/23/15 Page|D.Z PageZofB

That at all times relevant herein, Plaintiff was and is a “person” as defined by 47
U.S.C.§153(32).

That Defendant, at all times relevant herein, owned, operated and/or controlled “customer
premises equipment” as defined by 47 U.S.C.§153(14), that originated, routed, and/or

_ terminated telecommunications

That at all times relevant herein, Defendant has used the United States mail service,
telephone, telegram and other instrumentalities of interstate and intrastate commerce to
attempt to collect consumer debt allegedly owed to another.

That Defendant, at all times relevant herein, engaged in “interstate communications” as
that term is defined by 47 U.S.C.§153(22).

That Defendant, at all times relevant herein, engaged iii “telecommunications” as defined
by 47 U.S.C.§153(43).

That Defendant, at all times relevant herein, used, controlled and/or operated “wire
communications” as defined by TCPA, 47 U.S. C. §153(52), that existed as
instrumentalities of interstate and intrastate commerce.

That Defendant, at all relevant times herein, used, controlled and/or operated “automatic
telephone dialing systems” as defined by TCPA, 47 U.S.C.§227(a)(l) and 47 C.F.R.
64.1200(1)(1).

The acts of the Defendant alleged hereinafter were performed by its employees acting
Within the scope of their actual or apparent authority.

Defendant_ regularly attempts to collect debts alleged to be due another.
Ail references to “Defendant” herein shall mean the Defendant or an employee of said
Defendant.

IV. FACTUAL ALLEGATIONS

That Plaintiff incurred a credit card debt with Capital One. This debt will be referred to
as “the subject debt.”

That the subject debt arose out of a transaction in which money, services or property,
Wliich was the subject of the transaction, Was primarily for personal, family and/or
household purposes As such, said debt is a “debt” as that term is defined by 15 U.S.C.
§1692a(5).

That Plaintiff thereafter, allegedly defaulted on the subject debt.

 

 

Case 3:15-cv-01183-.]AH-BGS Documentl Filed 03/23/15 Page|D.S PageSofB

20.

21.

22.

23.

24.

25.

26.

27.

28.
29.

30.

That upon information and belief, Defendant was employed by the`original creditor or
current account holder to collect on the subject debt.

That in or about March, 2014, and continuing to the present date, Defendant began
calling Plaintiffs’ cellular telephone number multiple times per week, often multiple
times per day, in an attempt to collect on the subject debt.

That during the afore-mentioned time, Defendant made several telephone calls to
Plaintiffs’ cellular telephone, wherein they left an artificial and/or prerecorded voice
message requesting return of their telephone.

That during several of these aforementioned calls, Plaintiffs informed Defendant that they
were calling Plaintiff’ s cellular telephone and requested that the Defendant stop calling
his cellular telephone number.

That despite Plaintiff informing Defendant on multiple occasions requesting that
Defendant stop calling, Plaintiff has continued to receive telephone calls and
artificial/pre-recorded voice messages from Defendant.

That during one of these aforementioned calls, Defendant threatened legal action against
the Plaintiff even though the subject debt is more than 10 years old.

That despite Defendant’s statements, they had not been authorized by Capital One or the
current account holder to pursue legal action against Plaintiff, and/or lacked the present
capability to file any legal action against the Plaintiff and/or did not intend to do so.

That as a result of Defendant’s acts, Plaintiffs became nervous, upset, anxious, and
suffered from emotional distress

V. COUNT ONE
(Fair Debt Collection Practices Act
and 15 U.S.C. §1692 et seq.)

Plaintiffs repeat, re-allege and incorporate by reference the allegations contained in
paragraphs l through 27 above.

The conduct of Defendant as described in this complaint violated the Fair Debt
Collection Practices Act (15 U.S.C. §1692 et seq.) as follows:

Defendant violated 15 U.S.C. §1692c(a)(1), 15 U.S.C. §1692d and 15 U.S.C. §1692d(5)
by failing to stop contacting Plaintiff on his cellular telephone despite being requested to
not contact Plaintiff at that number numerous times

 

Case 3:15-cv-01183-.]AH-BGS Documentl Filed 03/23/15 Page|D.4 Page401°5

31.

32.

33.

34.

35.

36.

37.

38.

39.

Defendant violated 15 U.S.C. §1692e, and 15 U.S.C. §i692e(5) by repeatedly contacting
Plaintiff on his cellular telephone with an automated dialing system after being requested
to stop calling him at that number.

Defendant violated 15 U.S.C. §l692e, 15 U.S.C.§1692e(2), 15 U.S.C. §1692e(5) and 15
U.S.C.§1692e(10) by threatening legal action against the Plaintiff on subject debt that
Was more than 10 years old.

That`as a result of the Defendant’s FDCPA violations as alleged herein, Plaintiff became
nervous, upset, anxious and suffered from emotional distress

VI. C()UNT TWO
(Telephone Consumer Protection Act of 1991
and 47 C.F.R.64.1200, et seq.)

Plaintiff repeat, reallege and incorporate by reference the preceding and succeeding
paragraphs in this complaint as if each of them was reprinted herein below.

The Defendant at all times material and relevant hereto, unfairly,; unlawfully,
intentionally, deceptively and/or fraudulently violated the TCPA, 47 U.S.C.§227, et seq.
and 47 C.F.R.14.1200, et seq. and TCPA, 47 U.S.C.§227(b)(1)(A)(iii) by initiating
telephone calls to Plaintiff"s telephone service and/or using an artificial and/or
prerecorded voice to deliver messages without having the consent of Plaintiff to leave
such messages

The acts and/or omissions of the Defendant at all times material and relevant hereto, as
described in this Complaint, were done unfairly, unlawfully, intentionally, deceptively
and fraudulently and absent bona fide error, lawful right, legal defense, legal justification
or legal excuse.

The acts and/or omissions of the Defendant at all times material and relevant hereto, as
described in this `Complaint, were not acted or omitted pursuant to 47
C.F.R.§64.1200(f)(2).

As a causally-direct and legally proximate result of the above violations of the TCPA, the
Defendant at all times material and relevant hereto, as described in this Complaint,
caused the Plaintiff to sustain damages as a result of their innumerable telephone calls
that harassed, annoyed and abused Plaintiff, and disturbed her peace and tranquility at
home and elsewhere

As a causally-direct and legally proximate result of the above violations of the TCPA, the
Defendant at all times material and relevant hereto, as described in this Complaint,
caused the Plaintiff to sustain damages and experience severe emotional distress

 

 

Case 3:15-cv-01183-.]AH-BGS Document 1 Filed 03/23/15 Page|D.B _Page 5 015

40. As a causally~direct and legally proximate result of the above violations of the TCPA, the
Defendant at all times material and relevant hereto, as described in this Complaint, is
liable to actual damages, statutory damages, treble damages, and costs and attorneys fees.

41. Plaintiff received multiple telephone calls from an automatic telephone dialing system
and/or an artificial and/or prerecorded voice entitling Plaintiff to Five Hundred Dollars
and No Cents ($500.00) for each artificial and/or prerecorded telephone call pursuant to
the TCPA, 47 U.S.C.§227(b)(3)(B).

42. The Defendant caused said telephone calls of an artificial and/or prerecorded nature to be
placed Willfully and/or knowingly entitling each Plaintiff to a maximum of treble
damages, pursuant to TCPA, 47 U.S.C.§227(b)(3).

WHEREF_ORE, Plaintiff respectfully requests that judgment be entered against the Defendants
for: '

(a) Actual damages;

(b) Statutory damages pursuant to 15 U.S.C. §1692k and 47 U.S.C.§223(b)(3)(B).

(c) Treble statutory damages pursuant to 47 U.S.C. §227b(3).

(d) Costs, disbursements and reasonable attorney's fees pursuant to 15 U.S.C. § 1692k.

And for such other and further relief as may be just and proper.

VI. JURY DEMAND

Please take notice that Plaintiff demands trial by jury in this action.

AMM

Seth'.l iiflrews, Esq.

Ke eth R. Hiller, Esq.

Law Offices of Kenneth Hiller, PLLC

Artorneys for the Plaintiffs

6000 North Bailey Ave., Suite lA

Amherst, NY 14226

(716) 564-3288

Email: sandrews@kennethhiller.com
khiller@kennethhiller.com

Dated: March 20, 2015

 

